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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                          MDL NO2924
   PRODUCTS LIABILITY                                                                   20- MD-2924
   LITIGATION
                                                             JUDGE ROBIN L ROSENBERG
                                                     MAGISTRATE JUDGE BRUCE REINHART

   ----------------"/
   THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
   Francis Jemellaro for Patricia Jemellaro,
   deceased



   (PlaintiffName(s))
                               SHORT- FORM COMPLAINT - VERSION 2

          The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

   Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

   Amended Master Personal Injury Complaint ("AMPIC") in In re: Zantac (Ranitidine)

   Products Lability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form

   Complaint - Version 2 as permitted by Pretrial Order No. 31 and as modified by the Court's

   Orders regarding motions to dismiss [DE 2532, 2512, 2513, 2515, and 2016].

           Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

   of Actions specific to this case. Where certain claims require additional pleading or case specific

   facts and individual information, Plaintiff(s) shall add and include them herein.

           Plaintiff(s), by counsel, allege as follows:

                          I.      PARTIES, JURISDICTION, AND VENUE

       A. PLAINTIFF(S)

           1.      Plaintiff(s) ______________________
                                 Francis Jemellaro    _
                   ("Plaintiff(s)") brings this action (check the applicable designation):

                          X
                          D       On behalf of [himselflherse/fl;
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                            □       In representative capacity as the ________,. on behalf
                                    of      the      injured    party,     (Injured   Party's    Name)



          2.      Injured     Party is      currently    a resident      and citizen of (City,    State)
                  ___________ and claims damages as set forth below.

                                                               -OR-

                                                        ___20__2_009
                  Decedent died on (Month, Day, Year) _Jun       __. At the time of

                  Decedent's death, Decedent was a resident and citizen of (City, State)
                  Conowingo           MD


   If any party claims loss of consortium,

          3.      Francis Jemelllaro         ("Consortium Plaintiff') alleges damages for loss of
                  consortium.

          4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                  citizen and resident of (City, State) Conowingo           MD


          5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                  Conowingo                MD



      B. DEFENDANT(S)


          6.      Plaintiff(s) name(s) the following Defendants from the Amended Master
                  Personal Injury Complaint in this action:

                     a. Brand-Name Manufacturers:
                            Boehringer ( All)
                            GlaxoSmithKline ( all)
                            Pfizer, Inc
                            Sanofi ( all)
                            Chattem, Inc




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                 b. Generic Manufacturers:




                 c. Distributors and Repackager:
                     McKesson
                     Chattem, Inc.




                 d. Retailers:




                 e. Others Not Named in the AMPIC:




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      C. JURISDICTION AND VENUE


         7.     Identify the Federal District Court in which Plaintiff(s) would have filed this action
                in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
                Court to which their original action was removed]:

                ------ District of ---
                                   MD


         8.     Jurisdiction is proper upon diversity of citizenship.


                                         II.        PRODUCT USE


         9.     The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]
                        [ii     By prescription
                        [ii     Over the counter
         10.    The Injured Party used Zantac and/or generic ranitidine from approximately
                (month, year)   Jan          2000      to   Jun   2009



                                      III.      PHYSICAL INJURY


         11.   As a result of the Injured Party's use of the medications specified above, [he/she]
               was diagnosed with the following specific type of cancer (check all that apply):
     Check all                     Cancer Type                           Approximate Date of
       that                                                                    Diagnosis
          l
      app y
        □      BLADDER CANCER

        □       BREAST CANCER

        □       COLORECTAL/INTESTINAL CANCER

        □       ESOPHAGEAL CANCER




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       Check all                        Cancer Type                                 Approximate Date of
         that                                                                           Diagnosis
        apply
          □        GASTRIC CANCER

          □        KIDNEY CANCER

          □        LIVER CANCER

          □        LUNG CANCER

          Iii      PANCREATIC CANCER                                          Jan               2009

          □        PROSTATE CANCER

          □        OTHER CANCER:

          □        DEATH (CAUSED BY CANCER)


            12.       Defendants, by their actions or inactions, proximately caused the injuries to
                      Plaintiff(s)

                                 IV.     CAUSES OF ACTION ASSERTED

            13.     The following Causes of Action asserted in the Amended Master Personal Injury
                    Complaint are asserted against the specified defendants in each class of
                    Defendants enumerated therein, and the allegations with regard thereto are adopted
                    in this Short Form Complaint by reference.

            14.     By checking the appropriate causes of action below, Plaintiff(s) assert these causes
                    of action based upon the law and applicable Sub-Counts of the following state(s): 1




                       I     Strict Products Liability- Failure to Warn through         All States and
                             Warnings and Precautions (Against Brand-Name               Territories, Except
                             Manufacturer Defendants)                                   DE, IA, MA, NC,
                                                                                        PA, and VA
   1
     In selecting the relevant states above, Plaintiffs reserve all rights to argue choice of law issues at
   a later time.
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                      Negligence-Failure to Warn through Warnings
                      and Precautions (Against Brand-Name                Territories,Except
                      Manufacturer Defendants)                           LA,NJ,OH,and
                                                                         WA
                III   Strict Products Liability- Failure to Warn through All States and
                      Proper Expiration Dates (Against Brand-Name and Territories,Except
                      Generic Manufacturer Defendants)                   DE,IA,MA,NC,
                                                                         PA,and VA
               IV     Negligence-Failure to Warn through Proper          All States and
                      Expiration Dates (Against Brand-Name and           Territories,Except
                      Generic Manufacturer Defendants)                   LA,NJ,OH,OK,
                                                                         and WA
                V     Negligence - Failure to Warn Consumers through     CA,DE,DC,HI,
                      the FDA (Against Brand-Name and Generic            IN,KY,LA,MD,
                      Manufacturer Defendants)                           MA,MN,MO,
                                                                         NV,NY,OR,and
                                                                         PA
               VI     Strict Products Liability- Design Defect Due to    All States and
                      Warnings and Precautions (Against Brand-Name       Territories, Except
                      Manufacturer Defendants)                           DE,IA,MA,NC,
                                                                         PA and VA
        □      VII    Strict Products Liability-Design Defect Due to
                      Improper Expiration Dates (Against Brand-Name
                                                                         All States and
                                                                         Territories,Except
                      and Generic Manufacturer Defendants)               DE,IA,MA,NC,
                                                                         PA,and VA
        □      VIII   Negligent Failure to Test (Against Brand-Name
                      and Generic Manufacturer Defendants
                                                                         KS,TX

        Iii    IX     Negligent Product Containers: (Against Brand-      All States and
                      Name and Generic Manufacturers of ills             Territories
        Iii     X     Negligent Storage and Transportation Outside the All States and
                      Labeled Range (Against All Retailer and            Territories
                      Distributor Defendants
               XI     Negligent Storage and Transportation Outside the All States and
                      Labeled Range (Against All Brand-Name and          Territories
                      Generic Manufacturer Defendants
        □      XII    Negligent Misrepresentation (Against Brand-Name CA only
                      Manufacturers by Generic Consumers in
                      California)
        □      XIII   Reckless Misrepresentation (Against Brand-Name MA only
                      Manufacturers by Generic Consumers in
                      Massachusetts)




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                           XIV       Unjust Enrichment (Against All Defendants)                       All States and
                                                                                                      Territories
                IR]        xv        Loss of Consortium (Against All Defendants)                      All States and
                                                                                                      Territories
                IR]        XVI       Wrongful Death (Against All Defendants)                          All States and
                                                                                                      Territories
                □                    Other




                         If Count XV or Count XVI is alleged, additional facts supporting the claim(s):
Plaintiff Francis Jemellaro is/was the husband of Patricia who died in 2009. He lost consortium and claims all solatium damages as a
result of her untimely death.




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                                         V.      JURY DEMAND

         14.    Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.


         Pursuant to PTO 13, if this is an amended Short Form Complaint, specify all
         changes made to the prior version of the Short Form Complaint, with citations
         to the paragraphs that have been changed:




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                                       VI.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants' actions or

       inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

       action, jointly and severally to the full extent available in law or equity, as requested in the




                                                            Attorney 1 Signature:___________
Attorney 1 Prin : De 1s F. O'Brien                          Attorney 1 Print:____________
Attorney 2 Signature:___________                            Attorney 2 Signature:___________
Attorney 2 Print:____________                               Attorney 2 Print:____________
Firm: Dennis F. O'Brien PA                                  Firm:   ----------------
Address 1: 2014 S Tollgate Road, Suite 209, false, Su       Address 1: --------------
Address 2: -----------
           Suite 209                      ---               Address 2: ______________
City: BEL AIR                                               City: ____________
State: ---------
       MD        --                                         State: ___________
Zip: 21015                                                  Zip: _____
Email: OBIE26@AOL.COM                                       Email: OBIE26@AOL.COM
Phone: 410-420-7411                                         Phone: ---------




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